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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                         CRIMINAL ACTION NO. 04-50171-01

 VERSUS                                           JUDGE S. MAURICE HICKS, JR.

 TYNA LARRY                                       MAGISTRATE JUDGE KIRK

                                          ORDER

        Before the Court is a Motion for Miscellaneous Relief (Record Document 119) filed

 by the defendant, Tyna Larry (Vanderzanden). In such motion, defense counsel asks the

 Court to recommend that the defendant be screened for participation in the Bureau of

 Prisons’ Residential Drug Abuse Program (“RDAP”). See id. The motion is based on the

 defendant’s determination that she should participate in the RDAP; yet, the motion also

 concedes that the defendant’s PSR did not reveal a history of drug or alcohol abuse. See

 id., ¶¶ 3, 5.

        The Government opposes the motion, namely on the grounds that neither the PSR

 nor its own extensive investigation indicated a history of drug or alcohol abuse on the part

 of the defendant. See Record Document 120. Further, the Government notes that the

 RDAP is “designed for those with severe drug abuse problems,” as compared to those

 individuals with low level drug problems who may qualify for the non-residential drug abuse

 treatment. Id., Exhibit 1 (emphasis added).

        Based on the record before this Court, it does not appear that a recommendation

 for screening for participation in the RDAP is warranted. The RDAP is a discretionary

 program. Further, there is no evidence, other than her own bald assertion, that the

 defendant has a substance abuse or drug problem or that she meets the criteria of a drug

 use disorder.
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         Accordingly,

         IT IS ORDERED that the Motion for Miscellaneous Relief (Record Document 119)

 filed by the defendant, Tyna Larry (Vanderzanden), be and is hereby DENIED.

         THUS DONE AND SIGNED, at Shreveport, Louisiana, this the 4th day of June,

 2007.
